                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re:                                           )
                                                 )
MICHAEL G. DOMBROWSKI                            )           CASE NO.: 16-81412-CRJ-11
                                                 )
                 Debtor.                         )           CHAPTER 11
                                                 )

                         DEBTOR’S OBJECTION TO CLAIM OF
                    NATIONSTAR MORTGAGE LLC d/b/a MR. COOPER

          COMES NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (“Debtor”),
and objects to the filed claim of Nationstar Mortgage LLC d/b/a Mr. Cooper (“Creditor”) as
assignee of Federal National Mortgage Association [Claim # 29-1, Doc. 722] on the grounds that
follow:


          1.            The Creditor has not updated its proof of claim on file since it was
                        originally filed, as required by the Debtor’s confirmed Plan of
                        Reorganization.
          2.            The Creditor has not recalculated its claim based on the revisions (term of
                        years and interest rate) as required by the Debtor’s confirmed Plan of
                        Reorganization.
          3.            The Creditor has improperly charged interest, attorney’s fees and other
                        charges on its claim.
          4.            The Creditor has failed or refused to provide timely and correct monthly
                        payment information to the Debtor, thus making it impossible for the
                        Debtor to make Plan payments to this Creditor.
          5.            Creditor has refused to communicate with the Debtor concerning this
                        claim.


          WHEREFORE, premises considered, the Debtor requests that, upon notice and a hearing,
this Honorable Court enter an Order: 1) requiring the Creditor to immediately correct, update and
amend its proof of claim; 2) requiring the Creditor to immediately provide timely and correct




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monthly payment information to the Debtor; and 3) granting such further relief as this Court
deems just and proper.

       Respectfully submitted this the 8th day of October, 2019.


                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard
                                             Tazewell T. Shepard IV
                                             Attorneys for Debtor-in-Possession
                                             SPARKMAN, SHEPARD & MORRIS, P.C.
                                             P.O. Box 19045
                                             Huntsville, AL 35804
                                             Tel: (256) 512-9924


                                CERTIFICATE OF SERVICE

       This is to certify that I have this 8th day of October, 2019, served the foregoing objection
on Donald M. Wright and Diane Murray, Attorneys for Creditor, Sirote & Permutt, PC, 2311
Highland Avenue South, Birmingham, AL 35205; Creditor Nationstar Mortgage LLC d/b/a Mr.
Cooper, P.O. Box 619096, Dallas, TX 75261-9741; and Richard Blythe, Office of the
Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the
Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage
pre-paid.


                                                 /s/ Tazewell T. Shepard
                                                 Tazewell T. Shepard




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